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               UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF ARKANSAS
                   FORT SMITH DIVISION


REBECKA VIRDEN, et al,                                                    PLAINTIFFS

            v.                          Case No. 2:23-cv-02071-PKH

CRAWFORD COUNTY, ARKANSAS,
et al,                                                                 DEFENDANTS


           AMENDED AND SUBSTITUTED COMPLAINT

      COMES NOW, Plaintiffs, by and through their attorneys, Terrence Cain

and Brian Meadors, and state:

      This matter arises from Crawford County’s unlawful censorship of

materials in the county libraries.

                                         Parties

      1. Plaintiffs Rebecka Virden, Nina Prater, and Samantha Rowlett are

residents of Crawford County, Arkansas, and members and users of the

Crawford County Library System. Their minor children are also users of the

Crawford County libraries; some of the children have their own membership,

some use their parents’ membership.

      2. Defendant Crawford County is a political subdivision of the State of

Arkansas and is within the Fort Smith District of the U.S. District Court for

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the Western District of Arkansas.

     3. Crawford County’s chief executive is County Judge Chris Keith. He is

being sued in his official capacity only.

     4. Crawford County’s Quorum Court is comprised of these thirteen

justices of the peace, sued in their official capacity only: Robert Kevin Arnold,

Lonnie Myers, Morgan R. Morgan, Jason Peppas, Brad Martin, Mark Shaffer,

Lonnie Jennings, Tia Woodruff, Jason Cox, Jeff Beaucamp, Craig Wahlmeier,

Mitch Carolan, and Roger Atwell.

     5. Crawford County has a county library pursuant to Title 13, Chapter 2,

Subchapter 4 of the Arkansas Code.

     6. The Crawford County Library System interim director is Eva White.

She is being sued in her official capacity only.

     7. The Crawford County Library has a library administrative board.

Under Ark. Code Ann. § 14-14-705(b)(2), “…[a]s to actions of tort, the [library]

board shall be considered as an agency of the county government and occupy

the same status as a county.”

     8. The Crawford County Library Board members are: Keith Pigg,

Colleen Hoelscher, Tammara (Tammi) Hamby, Amanda Stevens, and Kaelin

Schaper. They are being sued in their official capacity only.


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     9. Collectively, the Defendants will be referred to as Crawford County or

the County.

                         Subject Matter Jurisdiction

     10. This Court has subject matter jurisdiction under 28 USC §§ 1331,

1343, as this is a suit bringing a claim under 42 USC § 1983.

                      Venue and Personal Jurisdiction

     11. Venue is proper under 28 USC §§ 1391(b)(1) and (b)(2), as at least one

of the Defendants reside (or are located) in the District and the actions giving

rise to this suit occurred in the District.

     12. Personal jurisdiction is proper because all Defendants are residents of

(or located in) the Western District of Arkansas.

                                         Facts

     13. Under Arkansas law, the Crawford County county judge appoints, and

the quorum court confirms, the Crawford County Library Board. Ark. Code

Ann. § 14-14-705 (b)(2)(D).

     14. A condition precedent to appointment as a county librarian is the

recommendation of the county library board.

     15. A public library like the Crawford County library system is a “public

forum” as that term of art is used in First Amendment jurisprudence.


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     16. Under Ark. Code Ann. § 13-2-402, the county librarian “shall conduct

the library according to the most acceptable library methods.”

     17. In late 2022, early 2023, the Crawford County Quorum Court began a

series of actions intended to, and resulting in, the stigmatization of certain

books by placing a prominent color label on them and moving the books to a

separate “social section.” The Van Buren Public Library’s “social section” is

shown here:




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          18. The “social section” contains books for all ages but have this common

    theme: the books create, for Crawford County, the “discomfort and

    unpleasantness that… accompan[ies] an unpopular viewpoint.”1

          19. Illustrative of the Defendant’s motivations for removing the books is

    a letter from Tammi Hamby, now a member of the Crawford County Library

    Board.

          20. Tammi Hamby’s letter reads, in all meaningful respects, as follows:

            To: Crawford County Pastors

            Re: public library LGBTQ children’s books

            As I am sure you have heard there was a display of children’s books

          aimed at children 10 and under purchased and displayed at our local

          libraries focusing on alternative lifestyles. The only reason to do this

          is grooming a generation of children to feel this is normal and an

          accepted way of life. These children are too young to make those

          decisions and it should be left solely up to the parents what they want

          their child to be taught concerning these issues.

            A group of concerned citizens attended the last quorum court

          meeting on 12/19/22 and it appears to have been a success. There

          was a tentative agreement to remove the offensive books from the

1   Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 509 (1969).

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    children’s section in the library and to work on a permanent solution

    to the problem.

     There have been several resignations of the county library board

    since the meeting so please pray that the right people are appointed

    to those positions by our incoming county Judge Chris Keith. Please

    keep him in your prayers as his tenure starts with this significant

    conflict amongst his constituents.

     The battle is not over and we need your help. There is a scheduled

    library board meeting on Tuesday the 10th of January at 4:30 pm in

    the public library building here in Van Buren. We need as many

    people who can to show up with us to make sure the offensive and

    harmful children’s books are removed.

     There have been several constructive suggestions regarding these

    books and others like them in the library and the library director

    Deidre Grzymala seems amenable to negotiating.

     A large supportive contingent in the meeting would speak volumes

    to the leadership regarding the importance of protecting our children.

    We are asking you to ask your congregation to attend the next library

    meeting January 10, 2023 at 4:30 p.m.

     We hope to see you there, Dr. Jeff and Tammi Hamby



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     21. The “tentative agreement” was in actuality the Quorum Court

engaging in viewpoint discrimination by requiring its library board and

librarian to label and sequester books based on their content.

     22. The Quorum Court’s direction to label and sequester the books was

admitted by Tammi Hamby and the then-librarian Deidre Gryzmala in the Jan

10, 2023, Crawford County Library Board meeting:


      Tammi Hamby 1:13:48
     Ok, last item on the agenda. Deidre, you’re going to speak of the
     compromise with the Quorum Court?

       Deidre Gryzmala 1:13:51
     Yes. Okay, so the quorum court meeting was on December 19. Per
     the quorum court, we have reached a compromise about the LGBTQ
     books in the library system. Each branch has moved all of the
     LGBTQ kids books into a new section, so they have their own
     section. It is within the adult section, which we are calling “S” for
     social. They are a separated collection in the catalog. They were
     moved to the adult section and there and if there are any books that
     we missed, just alert the staff, and we can get it switched over. We
     also put color label covers on the books for staff so that books do not
     get shelved in the wrong area. When the staff person sees the label,
     they know that it'll go in this separate section. Every branch has
     already moved all their books over and we also place signs in this
     area and other areas of the library that say children 10 and under
     must be accompanied by an adult or guardian in the library at all
     times, which this statement is also in our policy. And I also like to
     point out that in order for a child, anyone under 18, to get a library
     card, their parent or guardian has to give them consent and sign for
     their card.




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     23. Other proffered reasons for singling out these books and making

them more difficult—-and more stigmatizing—-to read is that the books are

pornography,” or exposing children to explicit sexual ideas or imagery.”

     24. To be clear, none of these books could be fathomably be accused of

grooming,” “pornography,” or exposing children to explicit sexual ideas or

imagery.”

     25. For example, the “social section” contains Uncle Bobby’s Wedding,

Cinderelliot, A Scrumptious Fairytale, and The Big Book of Pride Flags.

     26. These books are wholly appropriate for placement in the children’s

section of a public library.

         a. Uncle Bobby's Wedding

            Goodreads description is “Bobby and Jamie are getting married,

         but Bobby’s niece Chloe is worried that she won't be his favorite

         person anymore. Will Uncle Bobby still think she is special? Sarah

         Brannen’s warm story is set in an alternative family as Uncle Bobby

         marries his boyfriend. Uncle Bobby’s Wedding embraces Bobby’s

         relationship with Jamie, but keeps its focus where it truly belongs: on

         an uncle and niece’s love for each other.”

         b. Cinderelliot, A Scrumptious Fairytale

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          The book retells the Cinderella story, but has gay characters.

        c.The Big Book of Pride Flags

           Goodreads describes this book as having “fun facts, simple

        explanations and a short history of each flag accompanying beautiful

        illustrations, children will uncover the history of Pride and be

        introduced to different genders and sexual orientations. There's also a

        blank Pride flag design at the back of the book so that children can

        create their very own Pride flag!”

           The County’s censorship of Pride Flags showcases that the

        censorship has nothing to do with grooming,” “pornography,” or

        exposing children to explicit sexual ideas or imagery.” This is a book

        about flags and the LGBTQ+ community. Crawford County censors

        the group because of its policy to target, stigmatize, silence, and hate

        LGBTQ+ people and their ideas.

     27. Crawford County’s censorship of the “Social Section” books arises

from impermissible religious considerations, i.e., its extreme and malevolent

view of the Bible, resulting in the County punishing the already marginalized

LGBTQ+ community.

     28. The Defendant’s actions have resulted in the library not being

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administered in accordance with the most acceptable library methods, in

contravention of Ark. Code Ann. §.13-2-402(b).

                                  Causes of Action

      29. Defendants actions violate 42 USC § 1983 and the First Amendment,

as applied to the states by the 14th Amendment. Specifically:

         a. restricts the Plaintiffs’ right to receive information.

         b. is a violation of the Establishment Clause of the First Amendment.

      WHEREFORE, Plaintiffs pray that the Court order the Crawford

County Library System to restore and maintain its books and future

acquisitions to the same administrative controls and processes as they existed

in June 2022, for costs, attorney’s fees, and such other relief as allowed by law.




 /s/ Terrence Cain                             /s/ Brian Meadors

 Terrence Cain, Ark. Bar # 99128               Brian Meadors, Ark. Bar # 2001186
 Attorney for Plaintiffs                       Attorney for Plaintiffs
 208 Brown Street                              1930 W. Oak Shadows Cir
 Little Rock, AR 72205-5841                    Memphis, TN 38119
 501-952-8421                                  980-867-1371
 terrencecain@windstream.net                   brianmeadors@gmail.com




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